 4:09-cr-03111-RGK-CRZ           Doc # 39   Filed: 12/28/09   Page 1 of 2 - Page ID # 63




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 4:09CR3111
                                            )
             v.                             )
                                            )      MEMORANDUM AND ORDER
HECTOR N. CERVANTES                         )
RIVERA, and BRIAN DARELL                    )
ZIEMS,                                      )
                                            )
                    Defendants.             )

        Defendant Rivera’s appointed counsel, Korey L. Reiman, has moved to
withdraw. Filing No. 37. Defendant Rivera’s newly retained counsel, Matthew R.
Kahler, has entered his appearance and has filed an unopposed motion to continue the
trial set for January 11, 2010, explaining he needs an additional forty-five days to
review the case, provide legal advice to defendant Rivera, and prepare for trial. Filing
No. 38. The court finds the pending motions should be granted. Accordingly,

      IT IS ORDERED:

      1)     The motion to withdraw filed by Korey L. Reiman, (filing no. 37), is
             granted. Mr. Reiman’s name shall be withdraw from all future ECF
             filings.

      2)     Defendant Rivera’s motion to continue, (filing no. 38), is granted.
             Defendant Rivera’s previously filed motion to continue the same trial
             date, (filing no. 36), is denied as moot.

      3)     As to both defendants, the trial of this case is set to commence before
             Judge Warren K. Urbom at 9:00 a.m. on March 8, 2010 for a duration of
             four trial days. Jury selection will be at the commencement of trial.
4:09-cr-03111-RGK-CRZ    Doc # 39    Filed: 12/28/09   Page 2 of 2 - Page ID # 64




    4)    Based upon the showing set forth in the defendant Rivera’ s motion and
          the representations of his counsel, the Court further finds that the ends
          of justice will be served by continuing the trial; and that the purposes
          served by continuing the trial date in this case outweigh the interest of
          the defendant and the public in a speedy trial. Accordingly, the time
          between today’s date and March 8, 2010, shall be excluded for speedy
          trial calculation purposes. 18 U.S.C. § 3161(h)(7)(A)

    DATED this 28th day of December, 2009.

                                    BY THE COURT:

                                    Richard G. Kopf
                                    United States District Judge




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